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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

LINDA KUNDINGER, individually and on

behalf of all others similarly situated,
Plaintiff,

Vv.

CARSURE, LLC, a Texas Limited Liability

Company,
Defendant.

)
)
)
) CASE NO. 17-CV-343-jdp
)
)
)
)

STIPULATION REGARDING VOLUNTARY DISMISSAL

IT IS HEREBY STIPULATED AND AGREED by and between the parties and

their respective counsel that the above-captioned action is voluntarily dismissed with

prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), each side to bear its own fees and

costs.
Dated: May 1, 2018

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SO ORDERED.

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Stephen L. Crocker
United States Magistrate Judge
